AO 245D (WDNC Rev. 01/2020) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                         )   (For Revocation of Probation or Supervised Release)
                 V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                         )
    KEVIN JACOB HOLLAND                                                  )   Case Number: DNCW206CR000026-001
                                                                         )   USM Number: 22023-058
                                                                         )
                                                                         )   Ben C. Scales, Jr.
                                                                         )   Defendant’s Attorney

THE DEFENDANT:
  Admitted guilt to violation 2 of the Petition and violation 4 of the Addendum to the Petition.
  Was found guilty of violation(s) of the Petition after denial of guilt.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

  Violation                                                                                                    Date Violation
  Number           Nature of Violation                                                                          Concluded
       2           FAILURE TO NOTIFY OF ADDRESS CHANGE                                                           4/10/2020
       4           DRUG/ALCOHOL USE                                                                              4/17/2020

        The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  Defendant found not guilty as to violation(s) of the Petition and is discharged as to such violation(s).
  Violations 1 and 3 are dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States attorney
of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 10/15/2020




                                                                                  Date: October 16, 2020




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                                                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
TEN (10) MONTHS. THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL BE CONSECUTIVE TO
ANY UNDISCHARGED TERM OF IMPRISONMENT IMPOSED BY ANY STATE OR FEDERAL COURT, WHETHER
PREVIOUSLY OR HEREAFTER IMPOSED, PARTICULARLY INCLUDING ANY SENTENCE IMPOSED FOR THE
PENDING FEDERAL CHARGE IN THIS COURT.

 The Court makes the following recommendations to the Bureau of Prisons:
         1.     Participation in the Federal Inmate Financial Responsibility Program.
         2.     Participation in any available mental health treatment programs.
         3.     Participation in any available substance abuse treatment program and, if eligible, receive benefits of
                18:3621(e)(2).
         4.     Participation in any available educational and vocational opportunities.

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
             As notified by the United States Marshal.
             At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             As notified by the United States Marshal.
             Before 2 p.m. on .
             As notified by the Probation Office.


                                                                           RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                    By:
                                                                                          Deputy Marshal




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                                                                     SUPERVISED RELEASE
Upon release from imprisonment the Court Orders that NO FURTHER TERM OF SUPERVISED RELEASE IS IMPOSED.




                                                              [Remainder of page intentionally left blank]




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                                                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                   ASSESSMENT                                            RESTITUTION                       FINE
                      $0.00                                                 $0.00                          $0.00


 The determination of restitution is deferred until. Upon such a determination an Amended Judgment in a Criminal Case
(AO 245C) will be entered. Failing such a determination by, restitution amount becomes $0.00 without further Order of the
Court.


 In all other respects, the terms of the original Judgment (Doc. 60) in this matter remain in full force and effect,
including the order for payment of:

             restitution, with there being a balance remaining in the amount of $3,303.75.
             court-appointed counsel fees, with there being a balance remaining in the amount of $3,328.75.
             special assessment with there being a balance remaining in the amount of $ .


                                                                          INTEREST

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

           The interest requirement is waived.

           The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

 The defendant shall pay court appointed counsel fees.




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                                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

            A  Lump sum payment of $0.00 due immediately, balance due
                   Not later than
                   In accordance  (C),  (D) below; or

            B  Payment to begin immediately through the Financial Responsibility Program (may be combined
               with  (D) below); or

            C  Payment in equal monthly installments of $50.00 to commence 60 days after the date of this judgment; or

            D  In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
                commencement of supervision through the Financial Responsibility Program, payments shall be made in
                equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a term of
                supervision. The U.S. Probation Officer shall pursue collection of the amount due, and may request to modify
                a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court costs:
 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room
210, Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility
Program. All criminal monetary penalty payments are to be made as directed by the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




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